Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 1 of 37 PageID #:731




                          Exhibit 1
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 2 of 37 PageID #:732
Case:
 C    1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 3 of 37 PageID #:733
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 4 of 37 PageID #:734
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 5 of 37 PageID #:735
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 6 of 37 PageID #:736
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 7 of 37 PageID #:737
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 8 of 37 PageID #:738
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 9 of 37 PageID #:739
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 10 of 37 PageID #:740
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 11 of 37 PageID #:741
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 12 of 37 PageID #:742
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 13 of 37 PageID #:743
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 14 of 37 PageID #:744
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 15 of 37 PageID #:745
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 16 of 37 PageID #:746
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 17 of 37 PageID #:747
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 18 of 37 PageID #:748
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 19 of 37 PageID #:749
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 20 of 37 PageID #:750
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 21 of 37 PageID #:751
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 22 of 37 PageID #:752
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 23 of 37 PageID #:753
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 24 of 37 PageID #:754
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 25 of 37 PageID #:755
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 26 of 37 PageID #:756
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 27 of 37 PageID #:757
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 28 of 37 PageID #:758
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 29 of 37 PageID #:759
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 30 of 37 PageID #:760
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 31 of 37 PageID #:761
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 32 of 37 PageID #:762
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 33 of 37 PageID #:763
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 34 of 37 PageID #:764
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 35 of 37 PageID #:765
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 36 of 37 PageID #:766
Case: 1:20-cv-05124 Document #: 35-1 Filed: 11/16/20 Page 37 of 37 PageID #:767
